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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                          WESTERN DIVISION AT DAYTON


UNITED STATES OF AMERICA                             Case No. 3:17cr183(2)

         Plaintiff,
                                                     District Judge Walter H. Rice
v.

JORDAN B. SMITH

         Defendant.



        ORDER APPOINTING COUNSEL UNDER THE CRIMINAL JUSTICE ACT



         This case is before the Court upon Defendant’s application for appointment of counsel

pursuant to 18 U.S.C. §3006A. Upon the Court’s Sua Sponte Order for Appointment of Counsel,

the Court appointed a member of the Criminal Justice Act Panel.

         IT IS ACCORDINGLY ORDERED that Richard Mayhall, of the CJA Panel for the

Southern District of Ohio, is appointed as counsel to represent the Defendant in this case.


                                                                                      WSSHU-XGJH5LFHDXWKRUL]DWLRQ
October 1, 2020                                                                      DIWHUKLVUHYLHZ
                                                      Walter H. Rice
                                                      United States District Judge
